Case No. 1:06-cv-00699-LTB-BNB Document 3 filed 04/14/06 USDC Colorado pg 1of4

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLORADO FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

Civil Action No. 06 - CV - 00 G 9 9 ~fnb .
(The above civil action number must appear on all ature papers APR 14 2005

sent to the court in this action. Failure to include this numba coory C. LANGHAM
may result in a delay in the consideration of your claims.) . , CLERK

LINDA SALMEN #124140,
Plaintiff,

Vv.

DR. MITRA RAZZAGHI,

RAE RICE,

RANDY SMITH, and

JOHN/JANE DOE,

Defendants.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a Prisoner's Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. §1915, a Motion to File Without Payment and Supporting
Financial Affidavit, and a Prisoner Compiaint. The court has determined that the
documents are deficient as described in this order. Notwithstanding the deficiencies,
the clerk of the court will be directed to commence a civil action. Plaintiff will be
directed to cure the following if he wishes to pursue his claims. Any papers which the
Plaintiff files in response to this order must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1) __ is not submitted
(2) __ is missing affidavit
(3) __ _is missing certified copy of prisoner's trust fund statement for the 6-month

period immediately preceding this filing

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(4)
(5)
(6)
(7)

(8)
(9)

is missing required financial information

is missing an original signature by the prisoner

is not on proper form (must use the court’s current form)

names in caption do not match names in caption of complaint, petition or
habeas application

An original and a copy have not been received by the court.

Only an original has been received.

other

Complaint, Petition or Application:

(10)
(11)
(12)
(13)
(14)
(15)

(16)

(17)
(18)

is not submitted

is not on proper form (must use the court's current form)

is missing an original signature by the prisoner

is Missing page nos. __

uses et al. instead of listing all parties in caption

An original and a copy have not been received by the court. Only an
original has been received.

Sufficient copies to serve each defendant/respondent have not been
received by the court,

names in caption do not match names in text

other

Accordingly, it is

ORDERED that the clerk of the court commence a civil action in this matter. It is

FURTHER ORDERED that the Plaintiff cure the deficiencies designated above

within thirty (30) days from the date of this order. Any papers which the Plaintiff

files in response to this order must include the civil action number on this order. Itis

FURTHER ORDERED that the clerk of the court mail to the Plaintiff, together

with a copy of this order, two copies of the following forms: Prisoner Complaint. It is

FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the
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action will be dismissed without further notice. The dismissal shall be without prejudice.

DATED at Denver, Colorado, this [0 * Say of Mpnat 2006.

BY THE COURT:

BOYD NYBOLAND ~
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. @6-Cv- 066° Brg

Linda Salmen
Prisoner No. 124140
DWCF

PO Box 392005
Denver, CO 80239

| hereby certify that | have mailed a copy of the ORDER and two copies of
Prisoner Complaint to the above-named individuals on_UW-fU4-%

GREGORY C. LANGHAM, CLERK

By: ch Lh dey

\Députy Clerk

